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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

IN RE:                                                                      CASE NO. 12-13117-RLM-13
DAVID ROBERT OFLYNN
PAMELA SUE OFLYNN



                                        NOTICE OF FINAL CURE PAYMENT

          Pursuant to Federal Rules of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee files this Notice of
Final Cure Payment. The amount required to cure the default in the claim listed below has been paid in full and the
Debtor(s) has completed all payments under the plan.

Name of Creditor: OCWEN LOAN SERVICING LLC



Final Cure Amount


Court Claim#                  Account#            Claim Allowed                          Amount Paid



       14                       0833              $2280.80                                 2280.80


Amt to Pay\Arrears                  $2280.80
Direct Amount Paid by Debtor        $0.00
Total Amount Paid by Trustee        $2280.80




Final Cure Amount


Court Claim#                  Account#            Claim Allowed                          Amount Paid



 14                             0833                $33781.20              33781.20 33781.20


Amt to Pay\Arrears                  $33781.20
Direct Amount Paid by Debtor        $0.00
Total Amount Paid by Trustee        $33781.20
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Monthly Ongoing Mortgage Payment

Mortgage is Paid:

  X    Through the Chapter 13 Conduit                Direct by the Debtor(s)


         Within 21 days of service of this Notice, the creditor MUST file and serve on the Debtor,
Debtor’s counsel, and the Trustee, pursuant to Fed.R.Bank.P.3002.1(g), a statement indicating
whether it agrees that the Debtor has paid in full the amount required to cure the default, has
paid all outstanding post-petition fees, cost or negative escrow amounts due, and whether,
consistent with § 1322(b)(5), the Debtor is otherwise current on all payments, or be subject to
further action of the Court.


         The statement shall itemize the required cure or post-petition amounts, if any, that the
Creditor contends remain unpaid as of the date of the statement. The statement shall be filed
as a supplement to the Creditor’s proof of claim and is not subject to Fed.R.Bank.P.3001(f).
Failure to notify may result in sanctions.




                                                                     Respectfully Submitted,

December 13, 2017

                                                                      /s/ Ann M.DeLaney
                                                                      Ann M. DeLaney, Trustee
                                                                      P.O. Box 441285
                                                                      Indianapolis, IN 46244
                                                                      Telephone: (317) 829-7360
                                                                       Facsimile: (317) 829-7369
                                                                      Email:anndelaney341@trustee13.com
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                                     CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing Notice of Final Cure Payment was served on the
parties listed below by ordinary U.S. Mail or served electronically through the Court’s ECF System at the
e-mail address registered with the Court on this 13 day of December, 2017.

DAVID ROBERT OFLYNN
PAMELA SUE OFLYNN
9266 NORTH 400 EAST
GREENFIELD, IN. 46140


TOM SCOTT & ASSOCIATES
5140 MADISON AVE, #1-B
INDIANAPOLIS, IN. 46227-

OCWEN LOAN SERVICING LLC
ATTN: BANKRUPTCY DEPT
1661 WORTHINGTON RD STE 100
WEST PALM BEACH, FL. 33409-


OCWEN LAON SERVICING, LLC
ATTN: BANKRUPTCY DEPARTMENT
100 VIRGINIA DRIVE, SUITE 175
FORT WASHINGTON, PA 19034




U.S. Trustee


                                                              /s/ Ann M. DeLaney
                                                            Ann M. DeLaney, Trustee
